Case 1:19-md-02875-RMB-SAK            Document 1103       Filed 04/01/21        Page 1 of 1 PageID:
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                   IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF NEW JERSEY CAMDEN VICINAGE

 ____________________________________

 In re: Valsartan       Products    Liability       MDL No. 2875
 Litigation
                                                    Honorable Robert B. Kugler,
                                                    District Court Judge

                                                    Honorable Joel Schneider,
 This document relates to Terri Stine               Magistrate Judge
 Case No. 19-cv-20214
 ____________________________________


                                 NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that Axley Brynelson, LLP, by Heath P. Straka, has been

 retained to appear on behalf of Plaintiff, Terri Stine, and hereby requests that copies of all

 documents be served on him at the address below or through the Court’s electronic filing system.


        Dated this 1st day of April, 2021


                                             AXLEY BRYNELSON, LLP

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